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                Exhibit C
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Pathways to False Allegations of Sexual Assault

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                                   AREA REVIEWS

                   Pathways to False Allegations
                        of Sexual Assault

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        Not all allegations of sexual assault are true. Unfortunately, there
        has been little work on understanding the prevalence of false alle-
        gations or pathways to these. This paper proposes 11 pathways to
        false allegations of sexual assault: (a) lying, (b) implied consent,
        (c) false memories, (d) intoxication, (e) antisocial personality dis-
        order, (f) borderline personality disorder, (g) histrionic personality
        disorder, (h) delirium, (i) psychotic disorders, (j) dissociation, and
        (k) intellectual disability. These pathways originate in the psycho-
        logical diatheses of the individual. Further research is needed into
        the frequency of these pathways, ways to accurately detect these,
        and whether other pathways exist.

        KEYWORDS false allegations, sexual assault, psychological path-
        ways, rape, lying, mental disorders

  In many sexual assault cases, there is little, if any, unequivocal physical
  evidence of a crime and no third-party eyewitnesses to bring decisive tes-
  timony to the event in question (Binder & McNeil, 2007), complicating the
  task of discerning the truth of a claim. Without clear physical evidence, the
  decisions of the legal system are based merely on the relative credibility of
  the narratives of the persons involved. In addition, physical evidence can be
  ambiguous: Medical evidence may allow a determination of whether inter-
  course occurred, and perhaps whether the intercourse was “rough,” but not
  whether that sexual contact was consensual. Thus, in cases such as these


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   that lack clear corroborating evidence, an understanding of pathways to
   false allegations may be useful to help determine the accuracy of the claims.
        Binder and McNeil (2007) presented several civil cases in which the
   alleged perpetrator of sexual assault and/or boundary violations completely
   denied all wrongdoing, and there was no corroborating evidence to help
   verify the claims of either party. The authors contended that in cases such
   as these, carefully administered and interpreted psychological evaluations
   may provide a context for allegations by allowing the court to understand
   personality traits, personality disorders, cognitive disability, and psychotic
   symptoms that may affect the alleged victim’s allegations. Certain psycho-
   logical processes have in past cases explained the lack of corroborating
   accounts between a plaintiff and a defendant. Some relevant psychologi-
   cal processes that have been suggested are psychosis, hypersensitivity when
   interacting with others, tendency toward exaggeration, and serious cognitive
   problems (Binder & McNeil). The authors also suggested that there may be
   several additional psychological markers to consider when determining the
   credibility of a complaint. We believe that a more thorough identification of
   these pathways is important and can be partly achieved by understanding
   the role of psychological disorders, as currently specified by the Diagnostic
   and Statistical Manual (DSM-IV-TR; American Psychiatric Association, 2000),
   in explicating specific motivations and cognitive distortions that may be
   associated with false allegations and malingering behaviors. Some of these
   variables may interact in a complex manner. For instance, an individual
   with borderline personality may place herself in riskier situations and may,
   therefore, have an increased risk of actual sexual assault. Conversely, as
   we discuss below, the individual with borderline personality disorder may
   also suffer from certain key cognitive distortions that lead to false reports.
   We caution against a simplistic reading of this analysis in that it never is
   the case that because a person suffers from a certain diagnosis that her alle-
   gations are, therefore, false. In addition, it can be useful for the forensic
   mental health professional to understand these pathways in context with
   the alleged perpetrator’s mental health status. Again, no diagnosis would
   mean that the perpetrator is guilty of the accusations; however, mental
   health professionals can offer expertise in helping to understand the path-
   ways to false allegations and false denials. Part of the focus of the present
   paper, then, is to bring attention to the dearth of psychological literature
   investigating correlates and causal mechanisms of false allegations of sexual
   assault and to propose a model specifying the major causal pathways to false
   allegations. These pathways are intended as a model for further empirical
   investigation.
        Therefore, a legitimate concern about enumerating such pathways is the
   misuse of psychological diagnoses in determining the accuracy of specific
   accusations. It is important to recognize that a model that comprehensively
   and accurately identifies pathways provides information regarding necessary
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  but not sufficient conditions for false allegations. There is no psychologi-
  cal diagnosis that alone could preclude the possibility that a sexual assault
  occurred. Rather, these generate rival plausible hypotheses that need to be
  evaluated to thoroughly evaluate all the possible candidates for explaining
  the allegation. That is, an investigation into a contested sexual assault charge
  is more complete and accurate when two overarching hypotheses are con-
  sidered: (a) This individual with psychological condition x was indeed
  sexually assaulted or (b) this individual with psychological condition x is
  making a false allegation due to condition x (x can be equal to 0). This is
  more complete than considering only one of these possibilities. Of course,
  when no relevant psychological condition is present, the second need not be
  considered. In addition, where there is overwhelming evidence (witnesses)
  that make condition (b) obviously false, then again, this condition need not
  be evaluated. Other methodologies such as lie detection (Gruben & Madsen,
  2005) may be used to make assessments, but a review of these methods is
  beyond the scope of this paper.
       A person falsely convicted (or even accused) of an alleged crime will
  experience significant psychological, financial, and social consequences.
  Prevention of both false convictions and false acquittals should be the
  utmost priority in any sexual assault case. Considering the dearth of forensic
  research on causal mechanisms of false allegations by claimants, it appears
  that this work is needed to offset the bulk of forensic practice that is not
  guided by a model to understand how false allegations may be generated.
  We make no claim regarding the moral equivalency of a true allegation
  that is not believed versus a false allegation that is believed. Rather, we do
  suggest that minimizing both of these kinds of errors is a worthy goal.



         LEGAL AND CULTURAL HISTORY OF SEXUAL ASSAULT
                     IN THE UNITED STATES

  It is no surprise that merely raising the issue of false allegations may evoke
  tension and unease in some; for some, this question is not politically cor-
  rect. To be sure, historically claims of sexual assault were handled relatively
  unfairly for the victims both legally and socially. In early America, many
  people looked upon rape perpetration as little more than a sexual misdeed
  on the level of premarital sex and as an unfortunate consequence of sexual
  desire (Block, 2006). Women’s claims of sexual assault were often unfairly
  doubted. In fact, psuedologia phantastica was the legally and scientifically
  acknowledged term used to describe a delusional state in which a woman
  falsely believed that she had been raped (Bessmer, 1984).
        Beginning in the 1960s, a public counteraction to the prevailing treat-
  ment of rape victims gained prominence, largely spurred by the feminist
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   movement (Spohn & Horney, 1992). As a result, the nation underwent sig-
   nificant changes in the legal handling of sexual assault cases. Sweeping new
   laws were adopted in all 50 states aimed at decreasing complainant attrition,
   increasing rates of reporting, and improving the overall treatment of victims
   filing complaints. Despite these efforts, recent studies on the outcome of
   rape reform laws have shown mixed results about their impact, indicat-
   ing partial effectiveness at best (see Clay-Warner & Burt, 2005; Spohn and
   Horney, 1992). Furthermore, studies on the number of unreported sexual
   assaults reveal consistently low rates of reporting to the police, from 15% of
   all rapes (Wolitzky-Taylor et al., 2011; Tjaden & Theonnes, 2006) down to
   5% in some samples (see Fisher, Cullen, & Turner, 2000).
         Study findings have identified several reasons for the low rates of report-
   ing. In a national sample of U.S. women, the most commonly endorsed
   reason for choosing not to report was fear of reprisal by the perpetrator
   (Wolitzky-Taylor et al., 2011), indicating an endemic distrust of case pro-
   cessing and protection services for the victim. Among victims who reported
   the rape and those who did not, the most frequently endorsed concern
   about reporting was the belief that others would blame the victim for the
   rape. Indeed, the acceptance of rape myths, or widely held and generally
   false beliefs about rape that serve to deny and justify male sexual aggression
   (Lonsway & Fitzgerald, 1994), is associated with a higher tendency to ascribe
   responsibility for sexual assault to the victim (Burt, 1980). Examples of rape
   myths include the incorrect beliefs that women routinely lie about being
   raped, that most rapes are perpetrated by strangers, and that only women
   who have certain characteristics (e.g., poor moral character, promiscuous,
   unsafe) are victims of rape (Lonsway & Fitzgerald, 1994).
         Given the mixed performance of rape reform laws and the persistence
   of rape myths, it is no surprise that empirical investigations of false rape
   allegations would be subject to heated contention. Past studies of false alle-
   gations have been carefully inspected for methodological, definitional, and
   ideological mistakes, and many have been found (Lisak, Gardiner, Nicksa, &
   Cote, 2010). The significant variability in estimates of false rape allegations
   has reflected these methodological weaknesses, with study estimates rang-
   ing from 1% to 90% of all reported cases (Gross, 2009; Kelly, 2010; Lonsway,
   2010; Lisak et al., 2010). These differences were generally related to discrep-
   ancies between researchers about definitions of terms and methodology of
   data collection (Lisak et al., 2010). One predominant criticism of the litera-
   ture has been the inaccurate categorization of rape investigation results by
   the police. It has been suggested that law enforcement agencies have been
   known to incorrectly categorize “unfounded” cases, among other cases, as
   “false allegations” (Lisak et al., 2010). As articulated by the International
   Association of Chiefs of Police (IACP), during police investigations a false
   allegation may be determined only using the following process:
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       The determination that a report of sexual assault is false can be
       made only if the evidence establishes that no crime was committed or
       attempted. This determination can be made only after a thorough inves-
       tigation. This should not be confused with an investigation that fails to
       prove a sexual assault occurred. In that case, the investigation would
       be labeled unsubstantiated. The determination that a report is false must
       be supported by evidence that the assault did not happen. (IACP, 2005,
       pp. 12–13; emphasis in original)

        “Evidence that the assault did not happen” must consist of the exis-
  tence of physical or eyewitness evidence as opposed to the mere absence
  of evidence (IACP, 2005). Lisak et al (2005) compiled findings from studies
  that addressed the aforementioned issues of categorization, terminology, and
  methodology and placed a narrower estimate of the frequency of false rape
  allegations between 2% and 10%. Thus, the most recent, more methodolog-
  ically adequate studies have indicated that false allegations are somewhat
  rare. However, it is important to note that law enforcement agencies can-
  not always identify false allegations during the investigation process, as it is
  often the case that little or no physical or eyewitness evidence exists to sub-
  stantiate that sex was consensual or that the rape never occurred. However
  uncommon, false accusations of sexual assault, indeed, occur, and falsely
  alleged perpetrators are thus subject to besmirched reputations, interrup-
  tions in important life functions and, in some cases, incarceration. In the
  event that an investigation fails to identify a false allegation and the case
  proceeds to prosecution, a psychologically informed conceptualization of
  the etiology of false allegations could bolster existing evidence that supports
  the falsehood of a claim.
        A brief description of one infamous and controversial legal case may
  help to elucidate the potential contribution of psychological pathways of
  false allegations of sexual assault and the initial and lingering consequences
  for accused persons. In the following case, the alleged victim never recanted
  her claim, and her allegations were never determined to be false. However,
  an understanding of the psychological functioning of the alleged victim
  as considered in the context of available evidence could have informed
  the investigators about potential motives or cognitive distortions that could
  lead the accuser to file a false rape allegation. On March 13, 2006, the
  lacrosse team at Duke University hired two exotic dancers, Crystal Magnum
  and Kim Roberts, to perform at a house party (Hemmens, 2008). While
  at the house, Magnum fell unconscious for a short while after which an
  exchange of insults occurred between the lacrosse team and the two strip-
  pers. Roberts then drove Magnum to a store where she was dropped off.
  After being arrested for public drunkenness, Magnum accused three of the
  Duke lacrosse teammates of rape. The allegations were pursued over the
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   course of 1 year in which all three men were charged with rape and pub-
   licly vilified. The lacrosse season was cancelled, and the coach was fired.
   According to some, a large amount of evidence was withheld from the pub-
   lic that may have cast suspicion on the accusation, all while the reputations
   of the three accused men were continually besmirched (Hemmens, 2008;
   Setrakian, 2007). DNA evidence revealed no physical evidence that any of
   the three men had raped her. Magnum also came under the suspicion of
   the authorities by telling conflicting versions of the sexual assault. In one
   instance, Magnum reported that she was gang raped by five men in the
   bathroom; at another time, she reported that she was not forced to have
   intercourse with anyone, although the men did pull her from her car and
   groped her (Taylor & Johnson, 2007).
         The discrepancies in Magnum’s account are considered “core” discrep-
   ancies in that they are central details of the case and, thereby, any variation
   in these details is considered a strong indication of a false account of events.
   Research on the accuracy of emotional memories indicates that in an emo-
   tional event, individuals are more likely to remember core features of the
   event (e.g., forced intercourse occurred, whether the event occurred inside
   or outside) than peripheral features (e.g., which street the rape occurred
   on, what perpetrators were wearing) and, in fact, memory for core fea-
   tures of the event is actually enhanced by the emotionality of the situation
   whereas memory of peripheral features tends to be poorer (Kensinger,
   2007).
         It is noteworthy that Magnum’s initial claim that she was raped occurred
   when she was being admitted to an inpatient ward for psychiatric obser-
   vation and treatment—a fact that did not receive much attention by the
   prosecution or others (Taylor & Johnson, 2007). Knowing the details of the
   mental health report could have helped investigators determine whether
   there were (a) motives for knowingly filing a false allegation or (b) reasons
   why Magnum would have unknowingly misinterpreted the events that took
   place.
         Later, the men were exonerated in what the judge called, “a tragic
   result of a rush to accuse.” This rush to accuse should have been medi-
   ated by a fair consideration of the possibility of a false accusation and
   an examination of pathways to false accusations. Despite this ruling, the
   case could still be labeled “unfounded,” as the term false allegation is often
   reserved for cases in which a claimant knowingly filed allegations that were
   false; either the claimant knowingly identified the wrong perpetrator, or
   she fabricated the entire event (Gross, 2009). In this case, Magnum never
   recanted her claims, and it cannot be determined whether she actually
   believed the events occurred or whether she knew that she had fabricated
   her story. However, an increased understanding of possible psychological
   pathways could have helped explain core inconsistencies in her statement
   and potential motivations to file a false allegation.
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       For the purposes of our paper, we will define the term false allegations
  as either knowingly fabricated or claims based on abnormal information
  processing, because in some cases, the claimant may actually believe that
  a coerced sexual experience occurred in ways that it did not occur. In this
  paper, we suggest that some psychological disorders may increase the like-
  lihood of believing a sexual assault occurred when it did not. Additionally,
  some psychological disorders may be related to an increase in motivation to
  fabricate an allegation of sexual assault in an effort to achieve what may be
  believed are the positive consequences of a false report.


       PATHWAYS TO FALSE ACCUSATIONS OF SEXUAL ASSAULT

  The pathways introduced in this section require further empirical inves-
  tigation and validation. These may not be an exhaustive list of possible
  pathways, although many pathways worth careful consideration have been
  included.


  Lying for Conscious and Unconscious Secondary Gain
  That the alleged victim is knowingly making a false claim of sexual assault is
  a pathway that is usually considered, and sometimes this is the only pathway
  considered by key individuals in the case. Humans do lie, and their lies can
  be difficult to detect. Often, humans lie because of what they perceive as
  the favorable consequences for lying; for sexual assault these consequences
  could be

   1. the severe negative consequences that the alleged perpetrator
      experiences,
   2. secondary gain from victim status,
   3. excusing behaviors or characteristics of the alleged victim (e.g., sexual
      activity, pregnancy, sexually transmitted diseases), and
   4. financial gain.

       In sections below, we consider lying that comes out of other psychi-
  atric diagnoses (e.g., the chronic lying associated with an individual with
  antisocial personality disorder). In this pathway, we acknowledge that lying
  also occurs with “normal” individuals (i.e., individuals who have no psychi-
  atric diagnosis, who seek certain consequences through their lying). Thus,
  the victim knowingly lying about the assault is a rather obvious pathway to
  false allegations. Deception is difficult to detect, but the alleged victim’s his-
  tory of truthfulness, current motivations, and gain from the allegations need
  to be considered.
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   Denial of Consent
   A key issue in sexual assault is whether consent was given for the sexual
   contact. Consent is complex and, in real-world situations, may have signifi-
   cant variability and may be rather subtle and, in general, an intricate process.
   Rarely do sexual interactions begin with individuals explicitly stating “I give
   you permission to do x, y, and z” (Hall, 1998). Consent in sexual situa-
   tions is often implied, sometimes by the absence of a negative (“She didn’t
   say no or move away”) or inferred (“She seems to be enjoying this” or
   “We did this in the past so I assumed she was ok with it”). Hickman and
   Muehlenhard (1999) found that nonverbal tactics were used more often than
   verbal consent. Consent is thought to involve both knowledge of what is
   being consented to and a belief that the person is free to either assent
   or not. Thus, a claim of lack of consent can also come from the person’s
   “feeling trapped” or “coerced,” which, again, the two parties may interpret
   differently. However, mistakes can be made in these situations and given
   the motivations of the parties, these mistakes can be motivated (“I want this,
   so I interpret her silence as consent” or “She was free to leave at anytime;
   I was on top of her because I thought she wanted that”).
        Understanding whether consent was given is made more complex by
   the fact that consent early in the interaction for a certain kind of sexual
   contact is not consent for any and all further sexual contact in that episode.
   In addition, consent for the same act (consent last week) is not consent for all
   future contact. This complexity led to the infamous Antioch College consent
   policy that stated that there were multiple levels of sexual intimacy and
   every time someone wants to proceed to another level, they must explicitly
   ask and receive explicit verbal permission to proceed to this level (Francis,
   1996):

         If the level of sexual intimacy increases during an interaction (i.e., if two
         people move from kissing while fully clothed—which is one level—to
         undressing for direct physical contact, which is another level), the people
         involved need to express their clear verbal consent before moving to that
         new level. If one person wants to initiate moving to a higher level of
         sexual intimacy in an interaction, that person is responsible for getting the
         verbal consent of the other person(s) involved before moving to that level.
         (p. 137)

         This policy was critiqued on the grounds of its impracticality, but it
   raises the question how explicit and how often does consent need to be
   conveyed? This ambiguity creates a pathway for a false allegation in which
   the alleged victim engaged in behaviors that can plausibly be interpreted
   as providing consent, but the victim herself may not understand or realize
   this. Thus, a false allegation can arise when it was reasonable to believe
   consent was given but the alleged victim falsely believes that it was not.
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   In this situation, the controversy is not whether sexual content occurred but
   whether consent for this sexual content occurred.
        The final level of complexity regarding this pathway occurs in the
   attempt of professionals involved in the case to accurately understand after
   the fact the details of whatever consent process did or did not take place.
   By its nature, this will generally be a “he said, she said” matter in which it is
   very difficult to resolve conflicting claims. However, much can ride on the
   heuristics individuals use to resolve this indeterminate matter.


   A False Memory
   The theory of repression, according to Freud (1910), posits that traumatic
   memories can be pushed out of conscious awareness and essentially forgot-
   ten for long periods of time. Though some psychologists argue there is a
   lack of empirical support for the theory of repression (Loftus, 1993), many
   psychologists do believe that repression is a real process by which memo-
   ries can be forgotten and later remembered (Boag, 2010). One psychological
   process that may resemble repression is false memory.
         The existence and prevalence of repressed memories is a source of
   controversy (McNally & Geraerts, 2009), and yet research does exist demon-
   strating the successful implantation of fabricated memories. In one of the first
   studies on the implantation of false memories, participants were given short
   narratives of childhood experiences, purportedly obtained from relatives,
   and asked to try to remember these experiences (Loftus, Coan, & Pickrell,
   1996). Participants’ relatives were contacted and asked to provide childhood
   stories about the participants. However, researchers created one fabricated
   narrative: The participant, at age 5 or 6, had been lost in a public place (e.g.
   a shopping mall) for an extended period of time and eventually rescued.
   Participants were encouraged to try to remember both true and fabricated
   events over the course of several weeks. When participants were asked later
   whether they recalled the events, nearly one-fourth of them reported having
   memories of the fabricated event. Though some individuals reported remem-
   bering being lost only vaguely, others reported remembering vivid visual
   details and emotional experiences. Since this study, several researchers have
   successfully replicated these results using different suggestive techniques
   and scenarios (e.g. Mazzoni, Loftus, Seitz, & Lynn, 1999; Hyman & Billings,
   1998; Hyman & Pentland, 1996; Garry, Manning, Loftus, & Sherman, 1998).
   Many of the suggestive methods used in these experiments are similar to
   those employed by some therapists during psychotherapy (Ofshe & Watters,
   1994; Pesant & Zadra, 2004).
         It has been argued that suggestive therapeutic techniques could cause a
   client to create a false traumatic memory (Loftus, 1993). An example of this
   type of suggestion would be for a therapist to conclude that the client shows
   signs of abuse despite no memory of abuse, and thus the client should try
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   harder to remember whether any abuse may have occurred (as cited in
   Loftus, 2003).
        Indeed, there have been several legal cases in which therapy clients or
   their relatives successfully sued or received settlements from their therapists
   for using therapy techniques that may have induced patients into creating
   false memories of past abuse (Loftus, 1997). In one such case in 1986,
   Nadeen Cool sued her therapist who used hypnosis and other suggestive
   therapeutic techniques to uncover “lost memories” of abuse (Loftus, 1997).
   Through therapy, Cool remembered being in a satanic cult, eating babies,
   and being raped, among other horrific events. She came to believe she had
   more than 120 different personalities and even underwent an exorcism led
   by her therapist who sprinkled holy water and demanded Satan to leave her
   body. Later, Cool realized that her memories were not real and were planted
   by her therapist. The therapist settled out of court for $2.4 million.
        Though the false memories discussed thus far have all been entirely fab-
   ricated, some false memories are created surrounding real events. Memories
   of an event can be tampered by exposure to subtle misinformation after the
   event has occurred (Loftus & Palmer, 1974; Loftus, 1975; Loftus, Miller, &
   Burns, 1978). In one famous study by Loftus and Palmer (1974), researchers
   showed participants short clips of traffic accidents and were asked to rate
   the speed at which the accident happened. However, when questioning the
   participants, researchers cleverly manipulated the use of verbs. For instance,
   some participants were asked the speed at which vehicles smashed into each
   other. Other participants were asked to report the speed at which vehicles
   hit, collided with, bumped, or contacted each other. Participants respond-
   ing to the word smashed not only reported a higher speed at which the cars
   were travelling but weeks later were more likely to recall having seen broken
   glass at the scene. These findings in addition to Loftus’s later work on the
   nature of leading questions (Loftus, 1975; Loftus et al., 1978) revealed how
   subtle information introduced after an event may alter the memory of that
   event. Loftus and her students have since conducted more than 200 stud-
   ies with more than 20,000 participants demonstrating how misinformation
   introduced after an event can induce people into creating false memories
   (Loftus, 1997).
        Repressed memories have not been disproved. However, scientific stud-
   ies have demonstrated that significant errors in memory and the creation
   of false memories of traumatic events are possible. When the claimant
   suddenly recovers a memory of a past sexual assault, investigation of the
   events surrounding the recovery of the memory, including suggestive ther-
   apy and investigative techniques (e.g. events surrounding police lineups and
   questioning), must be examined and may shed light on the validity of the
   recovered memory.
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   Intoxication
   As a prerequisite for this pathway, the consumption of intoxicating sub-
   stances must have led to distortions in information processing. There
   are currently many drugs that are used by sexual assault perpetrators to
   incapacitate victims (Horvath & Brown, 2005). These drugs may include
   Rohypnol (e.g., “roofies”) and amphetamines, muscle relaxants, alcohol, or
   antihistamines. Other drugs, such as gamma hydroxybutyrate, cocaine, and
   ketamine have also been indicated in drug-assisted sexual assault cases (see
   Horvath & Brown, 2005; Hindmarch & Brinkmann, 1999). In a forensic case,
   it is important to determine whether the accuser voluntarily or involuntarily
   consumed drugs. If the drugs were not voluntarily consumed, it is likely that
   the individual who drugged the claimant had premeditated plans to control
   the claimant (Welner, 2001), regardless of whether the perpetrator assaulted
   the claimant.
          Though consent issues are clearly important considerations when
   determining the nature of sexual behaviors while intoxicated, they are super-
   fluous considerations in this pathway. Under most state laws, a person
   cannot legally consent to sexual activity while intoxicated (Davis & Loftus,
   2008). In fact, even if consent to engage in sexual activity is ex ante (before
   the first dose of the intoxicating substance), the act of engaging in sex-
   ual activity while intoxicated can later be determined to be non-consensual
   sexual activity and is often sufficient evidence to convict someone of rape.
   Therefore, issues of consent, for these reasons, will not be discussed in the
   context of this pathway.
          A key issue in this pathway is whether the claimant believes that he
   or she was sexually assaulted while under the influence of intoxicating sub-
   stances, when in reality no sexual activity took place or activity occurred very
   different from what she is now claiming (e.g., she claimed penetration when
   no penetration occurred). Some drugs, when consumed at sufficient levels,
   may cause impairments in information processing—sensation, perception,
   storage, or retrieval. Substances known to cause these effects are alco-
   hol, sedatives/hypnotics (e.g., benzodiazepines, soporifics), and anxiolytics
   (American Psychiatric Association, 2000). High doses of alcohol have been
   shown to inhibit memory in humans and animals (Bisby, Leitz, Morgan, &
   Curran, 2010; Crego et al., 2009; Spinetta et al., 2008). Moreover, upon ceas-
   ing to use these drugs, withdrawal symptoms may include delirium and
   psychotic disorders (American Psychiatric Association, 2000; Lin, Heacock, &
   Fogel, in press)—two additional pathways to false allegations that will be
   discussed later in this paper.
          The information-processing errors of the intoxicating substances men-
   tioned above may cause confusion surrounding events that occurred while
   a person was intoxicated. A person who does not accurately recall events
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   that occurred while he or she was under the influence or while experienc-
   ing the side effects of withdrawal from a substance may attempt to make
   sense out of the disjointed and seemingly incoherent memories of events
   that occurred while intoxicated. In an effort to make sense of and organize
   what memories are intact, a person may confabulate or fill in the memory
   lapses with events that seem probable or which for some reason they come
   to believe “must have” taken place. For example, waking up naked but not
   remembering how his or her clothes were removed, a person may conclude
   that someone else removed the clothes without his or her consent, even
   if the individual had, while intoxicated, actually removed his or her own
   clothes without remembering having done so. In addition, some drugs can
   artificially affect sexual interest (e.g., ecstasy, cocaine) or modify the indi-
   vidual’s normal disinhibitions regarding sexuality that can affect the analysis
   of sexual consent. Thus, an individual may not normally have been sexually
   interested or may typically have been more sexually inhibited and not given
   consent. She may come to be puzzled after a sexual interaction and con-
   clude that she was sexually assaulted because her behavior did not fit with
   her expectations.


   Antisocial Personality Disorder (or Conduct Disorder
   in Adolescents)
   The DSM-IV-TR (American Psychiatric Association, 2000) explains the essen-
   tial feature of antisocial personality disorder as “a pervasive pattern or
   disregard for, and violation of, the rights of others that begins in early child-
   hood or early adolescence and continues into adulthood.” Diagnostic criteria
   consist of the following:

    1. failure to conform to social norms with respect to lawful behaviors as
       indicated by repeatedly performing acts that are grounds for arrest;
    2. deceitfulness, as indicated by repeated lying, use of aliases, or conning
       others for personal profit or pleasure;
    3. impulsivity or failure to plan ahead;
    4. irritability and aggressiveness, as indicated by repeated physical fights or
       assaults;
    5. reckless disregard for safety of self or others;
    6. consistent irresponsibility, as indicated by repeated failure to sustain
       consistent work behavior or honor financial obligations; and
    7. lack of remorse, as indicated by being indifferent to or rationalizing
       having hurt, mistreated, or stolen from another.

       Diagnostic criteria 1, 2, 4, and 7 are of particular importance in this
   pathway. If an individual with antisocial personality disorder is likely to lie
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   to achieve power and pleasure, a false allegation of sexual assault might be
   the means by which he or she attempts to achieve power over the falsely
   accused. Falsely claiming someone sexually assaulted you can be an aggres-
   sive act fitting diagnostic criterion 4. Furthermore, a lack of remorse could
   allow the individual to file an allegation of sexual assault and maintain this
   allegation with few, if any, conflicts of conscience. Thus, a pathway to a false
   allegation of sexual assault can occur when an individual with antisocial
   personality disorder makes a false claim of assault.
         Antisocial personality disorder occurs more in men than women
   (Lamont & Brunero, 2009; American Psychiatric Association, 2000), with
   prevalence rates of 3% and 1%, respectively, based on data from community
   samples (American Psychiatric Association, 2000). Though women are the
   most frequent reporters of being victims of sexual assault, men may also
   report sexual assault. It is important to note that individuals with antisocial
   personality disorder are more likely than individuals without antisocial per-
   sonality disorder to report having experienced sexual assault during their
   lifetime and are believed to be at a higher risk for sexual victimization
   (Burnam et al., 1988).


   Borderline Personality Disorder
   Borderline personality disorder (BPD) is a serious mental condition charac-
   terized by affective dysregulation, impulsiveness, difficulties in interpersonal
   relationships, and difficulties with self-image (Lieb, Zanarini, Schmahl,
   Linehan, & Bohus, 2004). Prevalence estimates for BPD from community
   and clinical samples have ranged from .6% to 3.9% of the general popula-
   tion (American Psychiatric Association, 2000; van Asselt, Dirksen, Arntz, &
   Severen, 2007; as cited in Lenzenweger, Lane, Loranger, & Kessler, 2007),
   and the majority diagnosed with BPD—an estimated 75% of people—are
   women (American Psychiatric Association, 2000).
         The DSM-IV-TR (American Psychiatric Association, 2000) includes nine
   diagnostic criteria for this disorder, which for simplicity can be narrowed
   down to four domains (Lieb et al., 2004). The first domain is affective distur-
   bance that includes intense emotions, rapidly shifting emotions, and mood
   reactivity. The second domain is disturbed cognition that includes three
   levels of symptomatology: troubling but non-psychotic problems including
   dissociation (discussed above) and intense feelings of being bad (relevant to
   this pathway); quasi-psychotic and psychotic-like symptoms of delusions
   and hallucinations (further discussed below) that are somewhat reality-
   based; and psychotic symptoms of delusions and hallucinations. The third
   domain is impulsivity, either physically destructive to the self or general-
   ized impulsivity. The fourth domain involves the existence of unstable and
   erratic relationships, in which the borderline individual struggles to avoid
   either real or imagined abandonment.
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         When parsing these domains, it can be more clearly seen how BPD may
   serve as a pathway for false allegations of sexual assault. The first domain
   (Leib et al., 2004) includes the diagnostic criterion of quickly switching from
   idealization to devaluation of relationship (American Psychiatric Association,
   2000). The instability of relationships experienced by an individual with BPD
   may be rooted in the tendency to quickly switch from idealizing significant
   others or lovers to devaluing them (American Psychiatric Association, 2000).
   This sudden change in conceptualization of a partner is often caused by feel-
   ing that the partner is not caring enough or giving enough or by suspicion
   of abandonment. The rapid shifting between idealizing and demonization
   may bring about a change in perspective such that a relationship that was
   viewed idealistically in the past is now seen through the devalued lens of
   abuse or mistreatment. Past events then may become construed as “abuse”
   and may lead a person with BPD to believe he or she is a victim of sexual
   assault.
         As Kanin (1994) found in his longitudinal study, two of the three major
   motivations to file a false allegation of rape were attention-seeking and
   revenge. The switch from idealization to devaluation of the relationship
   and/or relationship partner (American Psychiatric Association, 2000) may
   spur a desire for revenge for any past behaviors that are, in the devalua-
   tion phase, newly construed as mistreatment. In addition an individual with
   BPD who is feeling fear of abandonment may seek frantically to achieve the
   attention that is craved from the partner who is perceived to be neglectful
   (American Psychiatric Association, 2000). The impulsive nature of a person
   with BPD may also lead them to act on these motivations for attention or
   revenge by filing a false allegation of sexual assault before carefully consid-
   ering the consequences. Also, there is some evidence that individuals with
   BPD engage in behaviors that are viewed as “manipulative” (Linehan, 1993).
   Manipulative behaviors are often outside the conscious awareness of the
   individual and are learned through positive reinforcement, as manipulation
   frequently results in positive outcomes for the manipulator. Thus, an indi-
   vidual with BPD may use a sexual assault allegation as a way of impacting
   a third party for some desired outcome.
         The second domain (Lieb et al., 2004), consisting of symptoms of
   reality-based delusions and hallucinations, may lead to false beliefs of sex-
   ual assault, and clinical experience suggests that sexuality is a common
   theme in delusions and hallucinations. The DSM-IV-TR (American Psychiatric
   Association 2000, p. 299) defines delusions as “erroneous beliefs that usu-
   ally involve misinterpretations of perceptions or experiences.” Hallucinations
   involve sensory experiences that do not appear to be externally
   caused.
         Thus, individuals with BPD may represent a “perfect storm” of symp-
   toms in which an impulsive, emotionally dysregulated individual who is
   demonizing someone and has loose contact with reality and who is seeking
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   attention and revenge makes a false allegation of sexual assault. However,
   when considering this pathway, it is important to keep in mind that indi-
   viduals with BPD are more likely to have experienced sexual or physical
   assault (Lieb, et al., 2004) due to the same characteristics of the disorder.
   Thus, it is important to fairly and adequately weigh the evidence presented
   in an allegation of sexual assault.



   Histrionic Personality Disorder
   The DSM-IV-TR (American Psychiatric Association, 2000) defines histrionic
   personality disorder as “pervasive and excessive emotionality and attention-
   seeking behavior” (p. 711). Prevalence estimates range from .6% to 2.9%
   of the general population (as cited in Lenzenweger et al., 2007; American
   Psychiatric Association, 2000). Diagnosis is indicated by the presence of five
   or more of the following diagnostic criteria:

    1) is uncomfortable in situations in which he or she is not the center of
       attention;
    2) interaction with others is often characterized by inappropriate sexually
       seductive or provocative behavior;
    3) displays rapidly shifting and shallow expressions;
    4) consistently uses physical appearance to draw attention to the self;
    5) has a style of speech that is excessively impressionistic and lacking in
       detail;
    6) shows self-dramatization, theatricality, and exaggerated expression of
       emotion;
    7) is suggestible (i.e., easily influenced by others or circumstances), and
    8) considers relationships to be more intimate than they actually are
       (p. 714).

        The primary diagnostic criteria of interest in this pathway are diagnostic
   criteria 1, 2, 5, 7, and 8. Other relevant behaviors include the tendency
   to play out stereotyped roles in their relationships with others; an intense
   desire for novelty and excitement; and the upset and depression that may
   follow periods in which they received little attention (American Psychiatric
   Association, 2000).
        Filing a false allegation of sexual assault may serve to benefit individuals
   with histrionic personality disorder in several important ways. The sexual-
   ized behavior of individuals with histrionic personality disorder can lead to
   sexual relationships that may be used to seek attention (e.g., having sex with
   a person and telling all of their friends about it). Filing a false sexual assault
   claim may regain lost attention, either from the desired partner or from other
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   individuals, providing a novel and exciting environment that may be stim-
   ulating to a person who is histrionic. They may enjoy the large amounts
   of attention received for filing a sexual assault charge and for the “victim”
   role that can be played out in other relationships. In times when attention
   is not being received to the desired level, a false allegation of sexual assault
   may help to pull individuals with histrionic personality disorder out of their
   depressed state.
         The misperception that relationships are more intimate than they actu-
   ally are may lead a person with histrionic personality disorder to misconstrue
   nonsexual interactions as events that are sexual in nature. For example, a
   person who is histrionic may, after a co-worker complements her clothing
   and accidentally bumps into her during the day, construe these actions as
   intentional communications of sexual interest. This misperception can lead
   her to feel that if the individual had touched her chest while bumping into
   her, it was an intentional action of unwanted assault. Thus, a pathway to
   false allegations of sexual assault may be through individuals with a diag-
   nosis of histrionic personality disorder who for reasons of attention and
   misinterpretation may knowingly or unknowingly make a false allegation of
   sexual assault.


   Delirium
   According to the DSM-IV-TR (American Psychiatric Association, 2000,
   p. 136), delirium is a “disturbance of consciousness that is accompanied
   by a change in cognition that cannot be better accounted for by a preex-
   isting or evolving dementia.” Relevant to this pathway are the perceptual
   disturbances that may be present, including misinterpretations, illusions, or
   even hallucinations.
        Delirium may be caused by medical conditions, substance use, or with-
   drawal or may have multiple etiologies (American Psychiatric Association,
   2000). An individual suffering from delirium is out of contact with reality
   and thus may make statements or allegations that are not veridical, includ-
   ing false allegations of sexual assault. In these circumstances, an individual
   with delirium may be under the care and protection of hospital staff, family
   members, friends, or even law enforcement. In such situations, caregivers
   may be in close physical proximity to the patient. The care provided could
   be construed as sexual, even though the care may have been nonsexual.


   Psychotic Disorders
   The term psychotic generally refers to conditions that are marked by delu-
   sions and hallucinations (American Psychiatric Association, 2000). Psychotic
   disorders include the following: schizophrenia, schizophreniform disorder,
   schizoaffective disorder, delusional disorder, brief psychotic disorder, shared
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   psychotic disorder, psychotic disorder due to a general medical condition,
   substance-induced psychotic disorder, and psychotic disorder not otherwise
   specified. Each of these disorders is known to cause gross impairment in
   functioning.
        The DSM-IV-TR (American Psychiatric Association, 2000) details com-
   mon delusions that may be pervasive in individuals with delusional disorder.
   Other psychotic disorders may be associated with these delusional themes as
   well. Erotomatic delusions involve irrational, unsubstantiated, or impossible
   claims that some person is in love with the delusional individual. The
   individual may claim that a movie star or superior at work is secretly
   in love with him or her and that there is a spiritual tie between them.
   Another delusional theme of interest is the persecutory type. This delu-
   sional theme is characterized by irrational, unsubstantiated, or impossible
   claims that the individual has been wronged and that some injustice has
   taken place. Frequent appeals to the court system are common in which the
   individual attempts to persecute the central person in the delusion. Mixed
   types of delusions involve delusions in which no one type predominates.
   A mixed erotomatic and persecutory type might be the type of delusion that
   would lead to a false allegation of sexual assault. However, delusions can
   be complex and difficult to categorize, even when they are sexual in nature.
        Studies investigating the content of delusions have found delusions that
   are sexual in nature are not uncommon and are occur more often in women
   than in men (Galdos & van Os, 1995; Meloy, 1989). Some cases of sexual
   delusions have been documented. In one case, Rosenthal and McGuinness
   (1986), two psychiatric nurses, wrote about a client with delusions cen-
   tered on sex. “When her hydrotherapist offered her a backrub one day,
   she exclaimed, ‘Don’t touch me! I am not your homosexual lover’”(p. 149).
   These delusions may lead a person to claim adamantly that sexual relations
   or events occurred that may be impossible or highly improbable.

   Dissociation
   Dissociation is ‘‘the lack of the normal integration of thoughts, feel-
   ings, and experiences into the stream of consciousness and memory’’
   (Berstein & Putnam, 1986). According to the DSM-IV-TR (American
   Psychiatric Association, 2000), dissociation involves a disruption or splitting
   off of memory, personality, identity, consciousness, or general perceptions
   of the self and surroundings; it can be recurring, gradual, or transient.
   Currently, there is some controversy concerning the function, antecedents
   and etiology of dissociation (Candel, Merckelbach, & Kuijpers, 2003).
        Dissociative tendencies have been thought to exist as a stable trait
   in some individuals (Waller, Putnam, & Carlson, 1996), though most
   research has looked only at dissociation in relation to traumatic expe-
   riences. Much of the focus on the relationship between trauma and
   dissociation may be the result of earlier studies that found a relationship
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   between reports of childhood trauma and high levels of dissociation (e.g.
   Sanders & Giolas, 1991). Dissociation can occur either during the trau-
   matic experience (peritraumatic dissociation) or afterward (posttraumatic
   dissociation). Peritraumatic dissociation is characterized by numbness,
   detachment, derealization, depersonalization, and reduced responsiveness
   during the traumatic event (Tichenor, Marmar, Weiss, Metzler, & Ronfeldt,
   1996). A meta-analysis comparing the results of 35 empirical studies on the
   relationship between levels of peritraumatic dissociation and posttraumatic
   stress disorder (PTSD) found that peritraumatic dissociation was a moderate
   predictor of PTSD (Breh & Seidler, 2009).
         Some psychologists have conceptualized dissociation as a coping mech-
   anism in response to trauma-related stress (Gershuny & Thayer, 1999).
   However, others have argued that dissociation is a trait that precedes a trau-
   matic experience and may contribute to psychological responses in trauma
   survivors (Tichenor et al., 1996). Whatever the case may be, dissociation
   has been shown in multiple studies to be related to memory fragmentation
   (Kindt, Van den Hout, & Buck, 2005; van der Kolk & Fisler, 1995) and to two
   prominent correlates: fantasy proneness (Merckelbach, Campo, Hardy, &
   Geisbrecht, 2005) and absentmindedness (Merckelbach, Muris, Rassin, &
   Horselenberg, 2000).
         In one study (Candel et al., 2003), low and high dissociators were read
   stories of a traumatic nature and asked to freely recall the story. Even after
   controlling for fantasy proneness, high dissociators provided more errors of
   commission—that is, added false content—than low dissociators, though
   the two groups did not differ on errors of omission. In another study
   by Merckelbach and colleagues (Merckelbach, Horselenberg, & Schmidt,
   2002), participants were read a story and asked to recall the content of
   the story. They were then asked several misleading questions meant to
   test suggestibility. As hypothesized, participants who were high dissocia-
   tors were more likely to endorse story elements that were fabricated than
   low dissociators. Also, participants who were high dissociators were also
   more likely to have trait absentmindedness but were not more likely to have
   fantasy proneness. Similar studies have shown a small trend toward a rela-
   tionship between fantasy proneness and memory commissions (Giesbrecht,
   Geraerts, & Merckelbach, 2007). The results of these studies indicate that
   dissociators are capable of “remembering” events that did not happen and
   that absentmindedness may be a mediator in the relationship between trau-
   matic events and commission errors of memory. The results of these studies
   suggest that it may be important to consider the possibility that the mem-
   ory of the event may include false details if the claimant has high levels of
   dissociation.
         A review of the literature on dissociation and memory (Giesbrecht,
   Lynn, Lillienfild, & Merckelbach, 2008) cited evidence that trait dissociation
   is likely to be associated with memory distortions. In an effort to align
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   fragmented memories with an individual’s self-concept and worldview, the
   likelihood of altering memories of events, either consciously or uncon-
   sciously, increases (Eisen & Lynn, 2001). Thus, it is possible that in the
   event of a sexual assault, dissociation may cause a person to fill in the parts
   of the experience that are not clearly remembered with events that for them
   feasibly could have occurred. Of course, memory lapses will not necessarily
   be filled in with a confabulated event, let alone a sexual one. However, high
   dissociators may seek to make their stories more coherent by adding details
   to an incomplete memory that would make sense to them when considered
   in the context of the event. Thus, these confabulations may lead to erro-
   neous claims that have forensic relevance, including who the perpetrator
   was, what happened, where, and how many times.



   Intellectual Disability
   Intellectual disability (ID; Schalock, 2007), also known as mental retarda-
   tion (American Psychiatric Association, 2000), is characterized by below-
   average IQ and adaptive functioning (Schalock, 2007; American Psychiatric
   Association, 2000). Limitations in functioning include deficits in the acqui-
   sition of social, occupational, academic, and general self-care skills. ID
   has several etiologies that often are related to biological or pathological
   processes affecting the central nervous system. Many of the specific vulner-
   abilities that arise from ID overlap to some extent with other disorders (e.g.,
   autism spectrum disorders, cerebral palsy, fetal alcohol syndrome) and thus,
   in many cases, individuals with other developmental disabilities may also
   have ID.
         Rates of sexual assault are higher in intellectually disabled populations
   than populations without ID (Mitra, Mouradian, & Diamond, 2011). It is
   hypothesized that the true rate of sexual assault among individuals with
   ID is higher than indicated in studies (Joyce, 2003). There are many rea-
   sons to believe that study findings are an underrepresentation of the actual
   amount of sexual assaults that occur against intellectually disabled people.
   Difficulties with communication and comprehension of language faced by
   individuals with ID may interfere with the ability to report a sexual assault
   (Ahlgrim-Delzell & Dudley, 2001). Fear of repercussions for reporting—as
   caregivers are often the perpetrators—may also discourage reporting (Joyce,
   2003). Another reason why individuals with ID may not report a sexual
   assault is because of a misunderstanding of the legal process. For instance,
   Joyce (2003) briefly mentioned one alleged victim with ID who was reluc-
   tant to continue with an allegation because she was afraid she would get
   into trouble if the alleged perpetrator was found “not guilty.” Finally, it
   can be assumed that individuals with ID may choose not to report a sexual
   assault for the same reasons that individuals without ID choose not to report:
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   because the legal process can be daunting and there may be repercussions
   from filing the allegation.
          Studies have indicated that sexual assaults among populations with ID
   are most likely to be perpetrated by peer service users (Brown, Stein, &
   Turk, 1995). Abuse by family members and care providers is also com-
   mon, whereas perpetration by strangers is the least common. In cases where
   peer service users are the alleged perpetrators, issues of consent are often
   the focus of the investigation. Establishing the capacity to consent can be
   challenging in this population as it may be unclear whether individuals have
   sufficient knowledge and understanding to provide fully informed consent
   (Joyce, 2003). For instance, in some sexual assault cases, individuals with
   ID do not have the ability to name the body parts that were involved in the
   assault. Clear protocols for determining informed consent in this population
   would be useful, as adults with ID have specific challenges that increase
   their potential for coercion and exploitation.
          Intellectually disabled individuals, compared to individuals without
   ID, have vulnerabilities related to memory and communication that the
   legal system may not be equipped to handle adequately. Individuals with
   moderate-to-profound ID may have significant difficulty communicating
   about the events that occurred because of language skills deficits or other
   communication-interfering conditions (e.g., related neurological conditions).
   Ahgrim-Delzell and Dudley’s (2001) findings indicate that communications
   skills are essential in filing a sexual assault charge; alleged victims with mild
   ID were more likely than individuals with moderate or severe ID not only to
   file sexual assault charges but to have their allegations confirmed. Difficulties
   with memory may also complicate the investigation process for individuals
   with ID (Gudjonsson & Henry, 2003) who have been shown to have poorer
   memory than control groups and are more likely than control participants to
   fill in memory gaps with confabulated material (Clare & Gudjonsson, 1993).
   However, memories of individuals with ID are not necessarily unreliable;
   rather, when information is gathered in a non-leading way, they are likely
   to provide accurate, although usually more limited, information about the
   event (Ternes & Yuille, 2008). In other words, individuals with ID are less
   likely to remember the details of the event (Kebbel & Hatton, 1999).
          Specific vulnerabilities in individuals with ID, in addition to poorer
   memory, may account for inaccurate reporting of events (Gudjonsson &
   Joyce, 2011). Individuals with ID have been shown to be significantly more
   suggestible to leading questions (Gudjonsson & Henry, 2003; Everington &
   Fulero, 1999) and significantly more likely to acquiesce (Clare & Gudjonsson,
   1993) compared to individuals without ID, although there is variability
   among individuals with ID on these traits. Suggestibility refers to a tendency
   toward accepting information communicated by others and incorporating
   this information into beliefs and memories. Acquiescence refers to the pre-
   disposition to passively accept or actively agree with information that is
   presented (Chronbach, 1946). Thus, investigative procedures that involve
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   focused and suggestive questions may elicit both agreement with inter-
   viewer assumptions and confabulations, thereby decreasing the accuracy
   of responses (Cederborg & Lamb, 2008; Clare & Gudjonsson, 1993; Joyce,
   2003; Kebbel & Hatton, 1999; Kebbel, Hatton, & Johnson, 2004). Partly
   because of these vulnerabilities, there is a disproportionately high rate
   of false confessions in ID populations compared to the average popula-
   tion, and this is believed to be associated with (a) misunderstanding the
   potential consequences of a false confession and (b) the use of interrogative
   techniques that elicit compliance with the interrogator (Kassin et al., 2010).
   It is, therefore, a concern that individuals with ID may be prone to provid-
   ing positive response sets, changing their account of events in response to
   leading questions, and having misunderstandings about the legal process.
         Therefore, a heightened potential for suggestibility and acquiescence in
   individuals with ID may be relevant in cases of false allegations of sexual
   assault in which (a) the alleged victim did not initiate the complaint and
   is consequently questioned in a manner that elicits positive responses and
   confabulation or (b) suspicion of sexual abuse was conveyed to the vic-
   tim in a suggestive way by an individual or group that would potentially
   benefit from an allegation by proxy. In the first case, the individual who
   initiates the false complaint may have suspicions about sexual abuse related
   to perceived indications that a sexual assault occurred (e.g., a change in the
   disabled person’s sexual behavior, signs that a sexual relationship may be
   occurring). In the second case, care providers who serve to benefit from fil-
   ing a false allegation—perhaps traceable to another psychological pathway
   for filing a false allegation—might take advantage of the suggestible and
   acquiescent nature of an individual with ID. In either case, the individual
   with ID is at a higher risk of submitting a false allegation in these situations
   than individuals without ID because of this population’s greater tendency
   toward suggestibility and acquiescence.
         In a false allegation of sexual assault, shifts in the reporting of core
   features of the sexual assault (e.g., the general location, features of the
   assault) may indicate that the methods of questioning were suggestive or
   that the alleged victim is confabulating. Furthermore, the involvement of
   a litigation-minded advocate of the alleged victim who has the potential
   to gain from his or her association with the case might warrant a further
   investigation into the motives and actions of this individual. If evidence sug-
   gests that the origin of the false allegation is related to high suggestibility
   or acquiescence and thus a false belief that a sexual assault occurred, sug-
   gestibility may be assessed by examining the alleged victim’s response sets
   for significantly high levels of agreement with the interviewer and patterns of
   inconsistent responses emerging after suggestive questioning. Additionally,
   the Gudjonsson Suggestibility Scale (GSS; Gudjonsson, 1984) has shown to
   be a reliable and valid (Merckelbach et al., 1998) measure of suggestibil-
   ity and may be employed as an adjunctive measure of susceptibility to
   suggestive questioning.
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                         SUMMARY AND CONCLUSIONS

   These 11 pathways merit further investigation and supplementation if addi-
   tional pathways are identified. Ascertaining the psychological processes
   and functioning of a claimant may help explain possible motivations and
   information processing errors that could lead to an untruthful claim. Binder
   and McNeil (2007) underline the utility of psychological evaluation as a tool
   in the assessment of accusers and the accused, though they also stress the
   importance of examining these in the context of the presence or absence
   of corroborating evidence. Without corroborating evidence, forensic eval-
   uators must acknowledge that “he said, she said” sexual assault cases are
   inherently difficult to assess for truth and that truth is unlikely to be found
   in its entirety within the results of psychological evaluation. Nevertheless,
   psychological evaluations may inform forensic evaluators of psychological
   processes by which a person may either intentionally or unintentionally file
   a false allegation of sexual assault. The results of a psychological evaluation
   are not intended merely as a useful tool for the defense; evaluation may
   also help establish the veracity of a claimant’s account of events and may be
   relevant for a prosecutor’s decisions to pursue an indictment.
         In proposing these pathways, it is important to acknowledge that psy-
   chological evaluations should serve only as corroborating evidence and
   should not be construed as sufficient evidence upon which to determine
   truth. All evidence must be weighed appropriately to assess the veracity of a
   claim. Forensic evaluators must also be aware that some psychological disor-
   ders are more likely to be associated with experiences of sexual assault and
   abuse. For example, certain populations such as the intellectually disabled
   and other populations with cognitive difficulties may be at an increased risk
   of sexual assault. These risks should be assessed and weighed appropriately
   in conjunction with all of the evidence in cases where the claimant may
   have difficulty communicating or recalling the entire event.
         The legal system has an obligation to be mindful of discrimination faced
   by victims and biases faced by the accused. Further investigation of path-
   ways and other possible causal mechanisms of false allegations may help
   elucidate more evidence that can be utilized in the determination of truth in
   a sexual assault case.


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